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                                  EXHIBIT C



       V.                               )
                                        )       Case No.: 4:21-cv-00270
City of Houston; Art Acevedo et al.     )
                                        )
              Defendants.               )
                                        )

ATTORNEYS:

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ITEMS REVIEWED:

1. Tuttle Plaintiffs' First Amended Original Complaint.
2. The Nicholas Plaintiffs' First Amended Original Complaint And Jury Demand.
3. Confidentiality Order.
4. The autopsy report for Mr. Dennis W. Tuttle.
5. The autopsy report for Ms. Rhogena A. Nicholas.
6. Houston Police Department (HPD) Homicide Report Volume I (Bates Stamped COH35021-
   48).
7. Search Warrant and Affidavit for 7815 Harding Street (Bates Stamped COH37438-37443).
8. Audit of Narcotics Cases Related to Officer Goines (Bates Stamped COH3 8995-39036).




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9. HPD Narcotics Division Review and Revision ofrelevant SOPs (Bates Stamped COH5358-
    5423).
10. HPD Internal Affairs (IA) Report written by Lieutenant Nguyen. dated 06/28/19, Issue
    Record# 54047-2019 (Bates Stamped COH5431-5481).
11. HPD IA report written by Sergeant Carroll, dated 06/19/19, Issue Record# 54047-2019
    (Bates Stamped COH5487-5642).
12. HPD IA report written by Lt. French, dated 05/06/2019, Issue Record# 54155-2019 (Bates
    Stamped COH37473-37539).
13. HPD IA report written by Sgt. Rexroad, dated 05/01/19, Issue Record# 54155-2019 (Bates
    Stamped COH37540-37640).
14. Statements ofHPD Officer Arechiga, Officer Ashraf, Officer Blankenship-Reeves. Officer
    Steven Bryant, Commander Follis, Officer Gallegos, Officer Gana, Officer Goines,
    Lieutenant Gonzalez, Officer John-Louis, Officer Lovings, Officer Maxwell, Officer Medin~
    Officer Morales, Officer Ortiz, Officer Pardo, Sergeant Rey~ Officer Rios, Officer Salazar,
    Officer Sepolio, Lieutenant Todd, and Sergeant Wood.
15. BARC Animal Shelter & Adoptions activity report, Activity Nwnber Al 9-829101-1 (Bates
    Stamped COH077698-99).
16. Deposition of Nicole Blankenship-Reeves with exhibits.
17. Deposition of Jill Dupre with exhibits.
18. Deposition of Jonathan French v,,ith exhibits.
19. Deposition of Rebecca Gonzalez with exhibits.
20. Deposition of Richard Morales with exhibits.
21. Deposition of Son Nguyen with exhibits.
22. Deposition of Lieutenant Marsha Todd with exhibits.
23. Deposition of Mr. Cliff Tuttle.
24. Deposition of Mr. Ryan Tuttle.
25. Deposition of Robert Gonzalez with exhibits.
26. Deposition of Marianne Beynon with exhibits.
27. Deposition of Joeanne Nicholas.
28. Deposition of Patricia Nicholas.
29. Deposition of Jeff Wolf, with exhibits.
30. Deposition of Felipe Gallegos, with exhibits.
31. Crime Scene Photos of 7815 Harding Street (Bates Stamped COHl 122-1214).
32. Autopsy Photos of Mr. Dennis Tuttle (Bates Stamped COH810-118).
33. Autopsy Photos of Ms. Rhogena Nicholas (Bates Stamped COHl 119-121, 1215-1422).
34. Houston Forensic Science Center Reports, Case Number 2019-03760 (Bates Stamped HFSC-
    01150-1196).
35. Medical Records for Officer Goines (Bates Stamped COH61328-64718).
36. Medical Records for Officer Lovings (Bates Stamped COH50689-52301).




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 37. Medical Records for Officer Median (Bates Stamped COH52302-52416).
 38. Medical Records for Sergeant Reyna (Bates Stamped COH52417-52598).
39. Medical Records for Dennis Tuttle (Bates Stamped COH54992-56044).
40. HPD Tactical Plan for 7814 Harding Street (Bates Stamped COH038367-68).
41. Texas Ranger Final Presentation (PowerPoint presented by Texas Ranger Wolf).
42. Plaintiffs' Forensic Pathologist expert report authored by Robert Bux, M.D.
43. Plaintiffs' Crime Scene Reconstruction expert report authored by Mr. Michael Maloney.
44. HPD Crime Scene Video dated 01/30/19 (HFSC-3853).
45. HPD Crime Scene Video dated 01/28/19 (HFSC 3854.
46. HPD Crime Scene photographs (HFSC 1868-3852).
47. Various documents (Bates Stamped FHSC 1698, 1765-67, 1772-1867, 1318-1377).
48. HPD Standard Operating Procedure (SOP), Narcotics Division, Budgetary Guidelines,
     Procedure Number 100/3.01.
49. HPD General Order (GO.) Subject: Internal Directives (Bates Stamped COH797-799).
50. HPD GO No. 100-03, Subject: Definition ofTerms (Bates Stamped 0411-420).
51. HPD G. 0. No. 100-06, Subject: Department Mission, Values, Ethics, and Guiding
    Principles (No Bates stamp).
52. HPD GO No. 200-02, Subject: Employees Facing Legal Action (Bates Stamped COH00421 ).
53. HPD GO No. 200-03, Subject: Investigation Of Employee Misconduct (Bates Stamped
    COH00789-796).
54. HPD Circular No. 15-0515-115, Subject: RevisionofGeneral Order, 200-08, Conduct and
    Authority (Bates Stamped COH003 J-338).
55. HPD GO No. 200-08, Subject: Conduct and Authority (Bates Stamped CORI 153-11160).
56. HPD Circular No. 16-0311-060, Subject: Revision ofGeneral Order, 300-04., Compensation
    (Bates Stamped COH00373-00378).
57. HPD GO No. 300-08, Subject: Classified Employee Ejjicien:py Rating (Bates Stamped
    COH77833-77837).                                            j
58. HPD GO No. 300-14. Subject: Extra Employment (Bates St~ped COH00429-0442).
59. HPD GO No. 300-24, Subject: Early Warning System (Bate~ Stamped COHI 1365-11374).
60. HPD GO No. 300-35, Subject: Phase Down Program (Bate~ Stamped COH00443-448).
61. HPD GO No. 400-02, Subject: HPD Badges and Identification Cards (Bates Stamped
    COH00449-453).
62. HPD Circular No. 16-0324-069, Subject: Creation ofGeneral Order 400-28 Body Worn
    Cameras (Bates Stamped COH00379-396).
63. HPD Circular No. 17-0816-204, Subject: Revision ofGeneral Order 400-28 Body-Worn
    Cameras (Bates Stamped COH00397-00410).
64. HPD GO No. 500-19, Subject: Warrant Service Procedures (Bates Stamped COH77838-
    77840).




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65. HPD GO No. 600-16 (effective 2010), Subject: Confidential Informants and Other Source
    Information (Bates Stamped COH4033-4043).
66. HPD GO No. 600-16 (issue date 03/27/15), Subject: Confidential Informants and Other
    Sources on Information.
67. HPD GO No. 600-17 (issue date 01/04/08), Subject: Use ofForce (Bates Stamped
    COH00454-0458).
68. HPD Circular No. 15-0925-249, Subject: Revision ofGeneral Order 600-17, Use ofPoree
    (Bates Stamped COH00339-355).
69. HPD Circular No. 15-0930-256, Subject: Revision ofGeneral Order 600-17, Use ofForce
    (Bates Stamped COH00356-372).
70. HPD GO No. 700-01 (dated 10/20/03), Subject: Property and Evidence Control Regulations
    (Bates Stamped COH077864-077875).
71. HPD GO No. 700-01, Subject: Property and Evidence Control Regulations (Bates Stamped
    COH7784 I-77863).
72. HPD SOP, Professional Standards Command, Internal Affairs Division titled Investigation of
    Cases Involving Criminal Activity, effective 06/03/15 (Bates Stamped COH805-809).
73. HPD SOP titled Internal Affairs Division, Procedure Number 200/1.09 (effective date
    03/14/19) titled lnvesJigation ofCases Involving Criminal Activity.
74. HPD Narcotics Division Procedure 104/1.10 titled Quality Control Section (Bates Stamped
    COH00406).
75. HPD Narcotics Division Procedure 200/39 titled, Body Worn Camera.
76. HPD Narcotics Division Procedure 200/1.12 titled Search Warrants, By/Busts and Street
    Pops.
77. HPD Narcotics Division Procedure Number 200/1.12, titled Search Warrants, By/Busts and
    Street Pops (07/01/19).
78_HPD Narcotics Division Procedure Number 200/1.12 titled Search Warrants, Arrest
    Warrants by/Busts, and Open Air Investigations (01/21/20).
79. HPD Narcotics Division Procedure Number 200/1.13 titled Safety Cover Surveillance (Bates
    Stamped COH4032).
80. HPD Narcotics Division Procedure Number 200/1.15 titled Handling ofContraband (Bates
    Stamped COH10761-62) effective 11/13/15.
81. HPD Narcotics Division Procedure Number 200/1.15 titled Handling ofContraband (Bates
    Stamped COH53672), effective 07/01/19.
82. HPD Narcotics Division Procedure Number 200/1.15 titled Handling ofContraband (Bates
    Stamped 10614-10615), effective 12/15/19.
83. HPD Narcotics Division Procedure 200/1.16, titled Controlled Delivery ofNarcotics (Bates
    Stamped COHl 0616).
84. HPD Narcotics Division Procedure Number 200/1.02 titled Activity Authorization and
    Notification (Bates Stamped COH10739-40), effective 12/31/08.




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85. HPD Narcotics Division Procedure Number 200/1.02 titled Activity Authorization and
     Notification (Bates Stamped COH53659), effective 07/01/19.
86. HPD Narcotics Division Procedure Number 200/1.02 titled Activity Authorization and
     Notification (Bates Stamped COH10595-96), effective 12/15/19.
87. HPD Narcotics Division Procedure Number 100/3.04 titled Inspections (Bates Stamped
     COH10734), effective 11/13/19.
88. HPD Narcotics Division Procedure Number 100/3.04 titled Inspections (Bates Stamped
     COH10590), effective 12/01/19.
89. HPD Narcotics Division Procedure Number 200/1.01 titled Establishing Criteria For
    Investigations (Effective Dates: 12/31/08, 07/01/19, 12/01/19).
90. HPD Narcotics Division Procedure Number 200/1.03 titled Jurisdictional Considerations.
91. HPD Narcotics Division Procedure Number 200/1.04 titled Receiving and Recording Citizen
    Information.
92. HPD Narcotics Division Procedure Number 200/1.05 titled Tactical Plan.
93. HPD Narcotics Division Procedure Number 200/1.06 titled Narcotics-Federally Funded Task
    Forces (Effective Dates: 11/13/15, 12/15/19).
94. HPD Narcotics Division Procedure Number 200/1.07 titled Handling Prisoners.
95. HPD Narcotics Division Procedure Number 200/1.08 titled Narcotics Operations Control
    Center-Event Deconfliction.
96. HPD Narcotics Division Procedure Number 200/1.09 titled Release ofInformation To The
    Media.
97. HPD Narcotics Division Procedure Number 200/1.11 titled Undercover Buy (Buy/Walks)
    (Effective Dates: 11/13/15, 12/15/19).
98. HPD Narcotics Division Procedure Number 200/1.14 titled Use of Uniform Officers.
99. HPD Narcotics Division Procedure Number 200/1.16 titled Controlled Delivery ofNarcotics.
100. HPD Narcotics Division Procedure Number 200/1.18 t1tled Narcotics Training Aid\'.
101. HPD Narcotics Division Procedure Number 200/1.19 titled Houston Investigative
    Support Center (HJSC).
102. HPD Narcotics Division Procedure Number 200/1.20 titled Money/Vehicle Seizures.
103. HPD Narcotics Division Procedure Number 200/1.22 titled Handling of Confidential
    Informants: Recruitment or Contract (Effective Dates: 01/05/16, 07/01/19, 12/20/19).
104. HPD Narcotics Division Procedure Number 200/1.24 titled Reversals.
105. HPD Narcotics Division Procedure Number 200/1.25 titled Canine Detail.
106. HPD Narcotics Division Procedure Number 200/1.26 titled Cellular Phone Usage.
107. HPD Narcotics Division Procedure Number 200/1.27 titled Building Security For The 3 rd
    Floor-1200 Travis (Narcotics Division).
108. HPD Narcotics Division Procedure Number 200/1.28 titled Technical Operations Group.
l 09. HPD Narcotics Division Procedure Number 200/1.29 titled Foifeiture Abatement Seizure
    Team (FAST).




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110.   HPD Narcotics Division Procedure Number 200/1.30 titled Surreptitious Audio
   Recordings Of Support In Police Facilities And Vehicles.
111.   HPD Narcotics Division Procedure Number 200/1.31 titled After Hours And Weekend
   Investigative Coverage.
112.   HPD Narcotics Division Procedure Number 200/1.32 titled Obtaining And Use OfAlia,;
   Identifications.
113.   HPD Narcotics Division Procedure Number 200/1.33 titled Control, Deployment, And
   Qua/ifications/Training OfSpecialized Weapons.
114.   HPD Narcotics Division Procedure Number 200/1.34 titled Deployment Of Undercover
   Load Vehicles.
115.   HPD Narcotics Division Procedure Number 200/1.35 titled Noise Flash Diversionary
   Devices (NFDD) (Effective Dates: 01/17/17, 12/15/19).
116.   HPD Narcotics Division Procedure Number 200/1.36 titled Consumption OfAlcohol.
117.   HPD Narcotics Division Procedure Number 200/1.37 titled Installation OfCovert Video
   Devices In Hight Voltage Equipment.
118. HPD Narcotics Division Procedure Number 200/1.38 titled Use OfNaloxone (Narcan).
119. HPD SOP Narcotics Division Procedure Number 100/3.05, Subject: Inventory Control
   (Effective Date: 11/13/15, 12/01/19).
120. HPD SOP Narcotics Division Procedure Number 100/3.01, Subject: Narcotics Division-
   Captain (Effective Date: 11/13/15).
121. HPD SOP Narcotics Division Procedure Number 100/1.01, Subject: Narcotics Division
   Commander (Effective Date: 12/01/19).
122. HPD SOP Narcotics Division Procedure Number 100/2.01, Subject: Narcotics Report
   Outline (Effective Date: 11/13/15, 12/01/19).
123. HPD SOP Narcotics Division Procedure Number 100/2.02, Subject: Statistical
   Summaries OfNarcotic Enforcamant (Effective Date: 12/01/19).
124. HPD SOP Narcotics Division Procedure Number 100/2.03, Subject: Case Tracking Sheet
   (Effective Dates: 11/13/15, 12/01/19).
125. Additional HPD policies to include Budgetary Conditions-100/3.01, Funds/Expense
   Letters Limits ofAuthority And Use OfFlash Money-100/2.05, Assigned City Vehicles-
   100/2.07, Division Equipment Issuance And Use-] 00/2.08, Offense Report Routing
   Procedure-I 00/2.10, Court Ordered Expunctions-100/2.11, Case Evidence Files- l 00.2.12
   (Effective Dates: 11/13/15, 12/01/19), Budgetary Guidelines-100/3.01, Correspondence
   Guidelines-I 00/3.02, Filing Systems-I 00/3.03, Inspections-I 00/3.04, Inventory Control-
   100/3.05 (Effective Dates: 11/13/15, 12/01/19), Standard Operating Procedures (SOP)
   Review-100/3.06 (Effective Dates: 12/31/08, 12/01/19), and Emergency Mobilization-
   100/3.07.




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